                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           Case No. 20-cv-954

 FARHAD AZIMA,

       Plaintiff,
                                                  NOTICE OF INTENT TO FILE
       v.                                         EMERGENCY MOTION AND
                                                 SUPPLEMENTAL MATERIALS
 NICHOLAS DEL ROSSO and VITAL
 MANAGEMENT SERVICES, INC.,

       Defendants.



      Plaintiff Farhad Azima ("Azima") respectfully submits this Notice of Intent to file

an Emergency Motion and Supplemental Materials related to the Court's consideration of

the Objections to the Order and Recommendation of United States Magistrate Judge Joe L.

Webster (Document No. 54) in this case. Azima will file his emergency motion and

supplemental materials related to the issues before the Court at the earliest opportunity

during the week of September 27, 2021.

      This, the 24th day of September, 2021.

                                         WOMBLE BOND DICKINSON (US) LLP

                                         /s/ Ripley Rand
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                             MILLER & CHEVALIER CHARTERED


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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                            CASE NO. 20-CV-954


FARHAD AZIMA,

       Plaintiff,

       v.                                          CERTIFICATE OF SERVICE

NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

       Defendants.




       I hereby certify that I electronically filed the foregoing with the Clerk of Court using
the CM/ECF system, which will send electronic notification of this Notice to the following
attorneys:
       Kieran J. Shanahan, Esq.
       Brandon S. Neuman, Esq.
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This, the 24th day of September, 2021.

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